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        ORDERED in the Southern District of Florida on June 28, 2019.




                                                          Laurel M. Isicoff
                                                          Chief United States Bankruptcy Judge
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

        In re:
                                                                         Case No. 16-25954- LMI
                                                                         Chapter 7
        JORGE HANE,

                      Debtor.          /

        COLTEFINANCIERA, S.A. and                                        Adv. Pro. No. 17-01234-LMI
        BLUE BANK INTERNATIONAL, N.V.,

                      Plaintiff,
        v.

        JORGE HANE,

                      Defendant.           /

                                               FINAL JUDGMENT

                 This matter comes before the Court pursuant to the Order Granting Motion for Judgment

        on Partial Findings entered contemporaneously herewith. It is

                 ORDERED AND ADJUDGED as follows:
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        1. Judgment is entered in favor of Defendant Jorge Hane and against Plaintiffs

Coltefinanciera, S.A. and Blue Bank, N.V. on Count II of Plaintiffs’ Amended Complaint (D.E.

#32).

        2. Judgment is entered in favor of Defendant Jorge Hane and against Plaintiffs

Coltefinanciera, S.A. and Blue Bank, N.V. on Count III of Plaintiffs’ Amended Complaint.

        3. The Court reserves jurisdiction to tax costs incurred by the Defendant pursuant to

Bankruptcy Rule of Procedure 7054 and Local Rule 7054-1.

Submitted by:

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Attorney Hoffman shall serve a copy of the signed order on all parties served with the motion
and shall file with the court a certificate of service conforming with Local Rule 2002-1(F).
